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  By Electronic Case Filing

  February 27, 2012

  The Honorable Kiyo Matsumoto
  United States District Judge
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York, 11201




              Re:     United States v. Andrew Russo, et al
                      Criminal Docket No. 11 CR 30 (KAM)

  Dear Judge Matsumoto:

        Counsel for defendant Reynold Maragni, respectfully submits this letter in
  response to the Court’s Order dated 17 February 2012, directing counsel to serve
  Kim Juliano with a copy of the order removing her from Mr. Maragni’s surety
  bond. Compliance was made using regular mail on 22 February 2012. The copy
  was sent to 121 3 rd Street, Staten Island, New York 10306.


                                                     Respectfully Submitted,

                                                     Richard Shanley
                                                     Richard J. Shanley
